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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                    Southern District of Texas

RICARDO ORTIZ                                                    )
                             Defendant/Movant                    )
                                v.                               )                   M-18-CV-62
UNITED STATES OF AMERICA                                         )      Case No.
                            Plaintiff/Respondent                 )                   M-12-CR-191-12

                                                   APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         UNITED STATES OF AMERICA, Respondent.                                                                          .


Date:          7/3/2019                                                                   /s/ James L. Turner
                                                                                           Attorney’s signature


                                                                                 James L. Turner; TX Bar No. 20316950
                                                                                       Printed name and bar number
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                                                         Certificate of Service

                 I certify that a true and correct copy of above Notice of Appearance of Counsel was electronically
        filed with the United States District Clerk for the Southern District of Texas on July 3, 2019, and served upon
        the Defendant/Movant by United States Mail, addressed to:

                 Ricardo Ortiz
                 Reg. No. 09007-379
                 FCI Beaumont Low
                 P. O. Box 26020
                 Beaumont, TX 77720

                                                            /s/ James L. Turner
                                                              James L. Turner
                                                           Assistant U.S. Attorney
